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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

KERI SPRING, EUGENE SPRING,

JULIANNE SPRING, EUGENE SPRING

and KERI SPRING, on behalf of Gregory

Spring, and KERI SPRING, as the duly

appointed administrator of The Estate of 14-CV-476 (JLS)
Gregory Spring,

Plaintiffs,

V.

ALLEGANY-LIMESTONE CENTRAL
SCHOOL DISTRICT, ET AL.,

Defendants.

JURY VERDICT FORM

After considering all of the evidence, and the law as stated it to you in my
jury charge, answer the following questions. You must follow any instructions
contained within any question. All of the jurors must agree on the answer to each

question.
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1. Did Gregory Spring have a disability within the meaning of the Americans
with Disabilities Act and Rehabilitation Act?
Yes ve No____

If yes, proceed to question 2.

If no, proceed no further and report your verdict to the Court.
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2. Was Gregory Spring’s disability a motivating factor in the decision to
remove him from the school’s baseball team?

v

Yes No__
If yes, state an amount that is fair compensation for all of the injuries,
if any, to Plaintiffs that were caused by the baseball team incident,
and then proceed to question 3.

Estate of Gregory Spring:

Economic Loss: $ &

OD
Non-Economic Damages: $ 2, 000

Keri Spring:

Economic Loss: $ gw

c

Non-Economic Damages: §$ z

If no, leave these lines blank, and proceed to question 3.
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3. Was Gregory Spring harassed on the basis of his disability during the

period from June 17, 2011, to June 17, 2013?

Yes vO No

If yes, proceed to question 4.

If no, proceed no further and report your verdict to the Court.
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4. Was that harassment severe, pervasive, and objectively offensive?
Yes No“

If yes, proceed to question 5.

If no, proceed no further and report your verdict to the Court.
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5. Did the defendants have actual knowledge of that harassment?
Yes No

If yes, proceed to question 6.

If no, proceed no further and report your verdict to the Court.
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6. Did the defendants exercise substantial control over both the harasser
and the context in which that harassment occurred?
Yes No

If yes, proceed to question 7.

If no, proceed no further and report your verdict to the Court.
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7. Were the defendants deliberately indifferent to that harassment?

Yes No___
If yes, state an amount that is fair compensation for all of Plaintiffs’
injuries, if any, that were caused by the defendants’ deliberate
indifference to disability-based harassment of Gregory Spring during
the period from June 17, 2011, to June 17, 2013, and then report your
verdict to the Court.

Estate of Gregory Spring:

Economic Loss: $

Non-Economic Damages: $

Keri Spring:

Economic Loss: $

Non-Economic Damages: $

If no, leave these lines blank, and report your verdict to the Court.
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FINAL INSTRUCTIONS

Please proofread your verdict form and then have the jury foreperson sign and date

the form below.

Once you have completely filled out this form—including signing and dating below,
and sealing into an envelope—please draft a note stating that you have reached a
verdict. Seal the note and give it to the court security officer, who will deliver the

note to the Court.

I certify this verdict to be true and accurate.

1
Foréperson

patet: 10 [Ilo [2022
